Case 8:05-cv-01814-SCB-EAJ Document 10 Filed 01/10/06 Page 1 of 2 PageID 30




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

  U. S. EQUAL EMPLOYMENT                         §
  OPPORTUNITY COMMISSION,                        §
                                                 §
                    Plaintiff,                   §
                                                     CASE NO. 8:05-CV-01814-SCB-EAJ
                                                 §
  v.                                             §
                                                 §
  CNC DEVELOPMENTS, INC, d/b/a CNC               §
  INVESTMENTS, LTD.,                             §
                                                 §
                    Defendants.                  §

                 DEFENDANTS' CERTIFICATE OF COMPLIANCE
           WITH COURT’S ORDER REGARDING CM/ECF REGISTRATION

        I, J. Richard Hammett, give notice to the Court that I have complied with the Court’s

  Order (Docket #9) dated December 13, 2005, by (1) registering for CM/ECF in the Middle

  District of Florida; (2) entering an email address into my CM/ECF account; and (3) by filing

  this Certificate of Compliance before January 13, 2006.

                                                     Respectfully submitted,

                                                     /s/ J. Richard Hammett
                                                     J. Richard Hammett, Trial Counsel
                                                     BAKER & McKENZIE LLP
                                                     Attorney for Defendant
                                                     Texas Bar No. 24001054
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Case 8:05-cv-01814-SCB-EAJ Document 10 Filed 01/10/06 Page 2 of 2 PageID 31




                                CERTIFICATE OF SERVICE

          I certify that on January 10, 2006, I electronically filed the foregoing Certificate of
  Compliance with Court’s Order Regarding CM/ECF Registration with the Clerk of the Court
  via the CM/ECF system, which will send notice of electronic filing to: Maritza I. Gomez,
  Trial Attorney, EEOC Miami District Office, One Biscayne Tower, Suite 2700, Two
  Biscayne Boulevard Miami, Florida 33131, maritza.gomez@eeoc.gov.

                                                       /s/ J. Richard Hammett
                                                       J. Richard Hammett




  HOUDMS/184573.2
